     Case 24-10910-amc                          Doc          Filed 09/20/24 Entered 09/20/24 13:12:36                           Desc Main
                                                             Document      Page 1 of 6


 Fill in this information to identify the case:

  Debtor 1        Bruce M. Mines

  Debtor 2

  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number :    24-10910-amc



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                         12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as
a supplement to your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              U.S. Bank National Association, not in its individual Court claim no.                                                      4
     creditor:            capacity but solely as trustee of NRZ Pass -Through (if known):
                          Trust XI
     Last 4 digits of any number                                                                Date of payment change:                   11/22/2024
     you use to identify the                                             5988                   Must be at least 21 days after date of
     debtor's account:                                                                          this notice

                                                                                                New total payment:                         $715.87
                                                                                                Principal, interest, and escrow, if any

Part 1: Escrow Account Payment Adjustment

1.    Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $249.43                                      New escrow payment: $250.47



Part : 2 Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy
                      law. If a notice is not attached, explain why:

                      Current interest rate:                                    New interest rate:
                      Current Principal and interest payment:                   New principal and interest payment:



Part 3: Other Payment Change

             3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
                    [X] No
                    [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                    modification
                                    agreement. (Court approval may be required before the payment change can take effect).
                                    Reason for change:
                                        Current mortgage payment:                                 New mortgage payment:
             Case 24-10910-amc                       Doc       Filed 09/20/24 Entered 09/20/24 13:12:36                           Desc Main
                                                               Document      Page 2 of 6


     Debtor 1 Bruce M. Mines                                                  Case number (if known)               24-10910-amc
                    First Name             Middle Name          Last Name




     Part 4:         Sign Below

     The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
     and telephone number.

     Check the appropriate box:

    [ ] I am the creditor.
    [X] I am the creditor's attorney or authorized agent.

     I declare under penalty of perjury that the information provided in this claim is true and correct to the best of
     my knowledge, information, and reasonable belief.


              /S/ Jason Seals                                                                      09/20/2024
                                                                                        Date
        Signature



    Print:                       Jason Seals                                 Title Authorized Agent for Creditor

    Company                      Padgett Law Group

    Address                      6267 Old Water Oak Road, Suite 203

                                 Tallahassee FL, 32312

    Contact phone                (850) 422-2520                 Email         PLGinquiries@padgettlawgroup.com




*Please note Creditor is in the process of filing a Transfer of Claim to reflect Creditor as the Transferee of this Claim. However, this Notice of Mortgage
Payment Change is being filed to ensure Creditor’s compliance with Fed. R. Bankr. P. 3002.1.
    Case 24-10910-amc              Doc      Filed 09/20/24 Entered 09/20/24 13:12:36            Desc Main
                                            Document      Page 3 of 6


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF PENNSYLVANIA
                                            PHILADELPHIA DIVISION

In Re;
 Bruce M. Mines                                              Case No.: 24-10910-amc
Debtor(s)                                                    Chapter: 13

                                               CERTIFICATE OF SERVICE


 I, hereby certify that on September     20,2024 a true and correct copy of the foregoing document was served via
                           _________________________,
            United States Mail with adequate prepaid postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Bruce M. Mines
1837 E Pastorius St
Philadelphia, PA 19138-1203

                          By Electronic Mail
Attorney for Debtor
MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

US Trustee
United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107

                                                     /s/ Jason Seals
                                                       Jason Seals
             Case 24-10910-amc              Doc      Filed 09/20/24 Entered 09/20/24
                                                                               ANNUAL13:12:36  Desc Main
                                                                                      ESCROW ACCOUNT
                                                     Document      Page 4 of 6
                                                                                DISCLOSURE STATEMENT
      1601 LBJ Freeway                                                             Online Information: www.fayservicing.com
      Suite 150
      Farmers Branch, TX 75234                                                     8am-7pm Monday-Thursday, 8am-5pm Friday, 9am-12pm
                                                                                   Saturday, Operating hours are Central Time
                                                                                   Toll Free: (800) 495-7166
                                                                                   Fax: (630) 282-7548

                                                                                   Correspondence:
                                                                                   1601 LBJ Freeway Suite 150
                                                                                   Farmers Branch, TX 75234
      ESTATE OF RONALD DANIEL MINES                                        Analysis Date:                                              09/12/24
      1837 E PASTORIUS ST                                                  Loan Number:
      PHILADELPHIA, PA 19138-1203
                                                                           Borrower Name:                        ESTATE OF RONALD DANIEL MINES

                                                                           Property Address: 1837 E PASTORIUS ST
                                                                                             PHILADELPHIA PA 19138




Each year Fay Servicing, LLC reviews your escrow account to determine your new monthly escrow payment. As you may know, we collect
funds and hold them in your escrow account to pay your property taxes and insurance premiums on your behalf. Below are answers to the
most commonly asked questions we receive about the annual escrow analysis and the details related to your account.
1. What is the amount of my new monthly payment starting November 22, 2024 ?
                  Payment Items                               Current Payment                New Payment                 Difference
                  Total Payment                                          714.83                     715.87                     1.04
                  Portion Going to Escrow                                249.43                     250.47                     1.04


  ●   Note: If you currently use a third party bill pay service to make automatic payments, please update the amount scheduled to reflect
      the new payment amount listed above. If you are currently set up on automatic payments with Fay Servicing, this new amount will
      automatically take effect with your November payment.
2. What are the most common reasons that my escrow payment may change from year to year?
  A. Increases or Decreases in Amounts Billed – The amounts we collect each month to be held in your escrow account may change
     based on increases or decreases to your property taxes, mortgage insurance premiums, or homeowner's insurance premiums. The
     information below compares the amounts Fay Servicing expected to pay for each item this past year from your escrow account to
     the actual amounts that were paid or will be due. The difference column reflects the increase or decrease for each escrowed item.
                                                                    Anticipated             Actual Amounts
                  Escrowed Item                                    Amounts Due                  Paid or Due               Difference
                  CITY / TOWN                                          $2,448.25                  $2,448.25                    $0.00
                  HOMEOWNERS I                                           $544.95                    $557.36                   $12.41
                  Total Annual Escrow Payments                         $2,993.20                  $3,005.61                   $12.41
                  Monthly Escrow Payments                                $249.43                    $250.47                    $1.04


  B. Repayment of Escrow Shortage or Surplus – According to the projections shown in Table 1 on the reverse side, your escrow
     account will rise above the minimum required balance of $500.94 in February. This means you have a surplus of $11,229.75 in
     your escrow account.
                     Projected Low Escrow Balance                   Allowable Low Escrow Balance                          Surplus*
                               -$2,319.41                 minus                $500.94                       equals      $11,229.75

  * An Escrow Adjustment of $14,050.10, scheduled to be repaid through the bankruptcy, is included in this calculation.




                                                                     ESCROW SURPLUS SUMMARY
  Loan Num
  Name: ESTATE OF RONALD DANIEL MINES                                The surplus is being retained in your account.
  Surplus Amount: $11,229.75
                                                                     If you have any questions regarding this surplus amount,
                                                                     please contact us at (800) 495-7166.
  ESTATE OFCase 24-10910-amc
           RONALD DANIEL MINES                   Doc        Filed 09/20/24 Entered 09/20/24 13:12:36Loan NuDesc Main
                                                            Document      Page NEW
                                                                               5 ofPAYMENT
                                                                                    6      EFFECTIVE DATE: November 22, 2024


                                       ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
   Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12 months. This
   table shows the projected low balance point that is used to calculate an escrow surplus or shortage.
   TABLE 1 - ACCOUNT PROJECTIONS
                                                              Payments      Disbursements                     Total           Minimum
   Month               Description                             Estimate           Estimate                 Balance            Required         Difference
                       Beginning Balance                                                                    -$873.04
   11/24                                                          250.47                0.00                 -622.57              500.94          -1,123.51
   12/24                                                          250.47                0.00                 -372.10              500.94            -873.04
   01/25                                                          250.47                0.00                 -121.63              500.94            -622.57
   02/25               CITY / TOWN                                250.47            2,448.25               -2,319.41              500.94          -2,820.35 **
   03/25                                                          250.47                0.00               -2,068.94              500.94          -2,569.88
   04/25                                                          250.47                0.00               -1,818.47              500.94          -2,319.41
   05/25                                                          250.47                0.00               -1,568.00              500.94          -2,068.94
   06/25                                                          250.47                0.00               -1,317.53              500.94          -1,818.47
   07/25               HOMEOWNERS I                               250.47              557.36               -1,624.42              500.94          -2,125.36
   08/25                                                          250.47                0.00               -1,373.95              500.94          -1,874.89
   09/25                                                          250.47                0.00               -1,123.48              500.94          -1,624.42
   10/25                                                          250.47                0.00                 -873.01              500.94          -1,373.95
   Totals                                                      $3,005.64           $3,005.61
   ** Low Balance used to determine escrow surplus or shortage.
   Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account. A lower cushion may be required under state law. The
   cushion helps minimize the amount your escrow account could be overdrawn if tax or insurance payments increase.
   Table 2 itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. Last year estimates are next to the
   actual activity. The letter 'E' beside an amount indicates that the payment or disbursement has not yet occurred, but is estimated to occur as shown. An
   asterisk (*) indicates a difference from a previous estimate either in the date or amount and may be caused by any of the following:

            • The actual amount of insurance or taxes paid since your last Escrow Analysis Statement was higher or lower than anticipated
            • Additional funds were applied to your escrow account
            • The time elapsed between payments to escrow and disbursement from escrow was shorter or longer than anticipated on your last Escrow
              Analysis Statement.

   TABLE 2 - ESCROW ACTIVITY HISTORY
                                                                      Payments                       Projected Disbursements                       Total
   Month           Description                                    Estimate            Actual             Estimate       Actual                  Balance
                   Beginning Balance                                                                                                         -$11,041.35
   02/24           CITY / TOWN                                       249.43             0.00 *            2,448.25             0.00 *          -11,041.35
   03/24           CITY / TOWN                                       249.43           686.67 *                0.00         2,448.25 *          -12,802.93
   04/24                                                             249.43             0.00 *                0.00             0.00            -12,802.93
   05/24                                                             249.43             0.00 *                0.00             0.00            -12,802.93
   06/24                                                             249.43             0.00 *                0.00             0.00            -12,802.93
   07/24           HOMEOWNERS I                                      249.43             0.00 *              544.95             0.00 *          -12,802.93
   08/24           HAZARD INS                                        249.43             0.00 *                0.00           557.36 *          -13,360.29
   09/24                                                             249.43        12,237.82 E                0.00             0.00 E           -1,122.47
   10/24                                                             249.43           249.43 E                0.00             0.00 E             -873.04
   Totals                                                         $2,244.87       $13,173.92             $2,993.20        $3,005.61

                                                                  IMPORTANT NOTICES
ACH Debit Borrowers: You have previously authorized Fay Servicing, LLC to automatically debit your bank account each month for the amount of your
monthly payment of principal, interest, and escrow (if applicable). Please note the amount of your next ACH debit will be changed (increase/decrease) to
reflect the amount of your new monthly payment as reflected herein, Fay Servicing, LLC is authorized to debit your bank account each month until you
provide written or oral notice to stop. Termination request must be received by Fay Servicing, LLC at least three (3) business days prior to your next
scheduled debit.
           Case 24-10910-amc           Doc      Filed 09/20/24 Entered 09/20/24 13:12:36                Desc Main
                                                Document      Page 6 of 6
                                                       DISCLOSURES
Federal law requires us to advise you that Fay Servicing, LL                 as the servicer of your loan, is responsible or
collecting your payments; however, in some circumstances we may be acting as a debt collector, in those circumstances, this
communication is from a debt collector attempting to collect a debt and any information obtained may be used for that
purpose.
CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your
account may be reflected in your credit report. As required by law, you are hereby notified that a negative credit report
reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations.
IMPORTANT BANKRUPTCY NOTICE
Bankruptcy (if applicable) - To the extent your original obligation was discharged or is subject to an automatic stay of
bankruptcy under Title 11 of the U.S. Code, this statement is for compliance and/or informational purposes only and does not
constitute an attempt to collect a debt or to impose personal liability for such obligation. However, Fay Servicing, LLC retains
rights under its security instrument, including the right to foreclose its lien.
NOTICE TO CUSTOMERS
To provide us with a Notice of Error about the servicing of your loan, or make a Request for Information about the servicing of
your loan, please contact us at:
                   Fay Servicing, LLC
                   Attn: Customer Service Department
                   Attn: Customer Service Department, Fay Servicing, P.O. Box 815548
                   Farmers Branch, TX 75381
Should you have any questions or concerns regarding your loan, please contact us at (800) 495-7166. Our office is open 8am-
7pm Monday-Thursday, 8am-5pm Friday, 9am-12pm Saturday, Operating hours are Central Time.
MINI MIRANDA
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained will be
used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and does not imply
that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy laws of the United
States.
HUD STATEMENT
Pursuant to Section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD-approved
housing counseling agencies by calling the HUD nationwide toll-free telephone number at (800) 569-4287.
EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding contract);
because all or part of the applicant’s income derives from any public assistance program; or because the applicant has in
good faith exercised any right under the Customer Credit Protection Act. The federal agency that administers compliance with
this law concerning this creditor is:
                                                      Federal Trade Commission
                                                       Equal Credit Opportunity
                                                    600 Pennsylvania Avenue, NW
                                                        Washington, DC 20580
                                     1-877-FTC-HELP (1-877-382-4357); TTD: 1-866-653-4261
                                                             www.ftc.gov
SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) - If you or any other person on this mortgage is a servicemember or dependent
of a servicemember, you may be entitled to certain protections under the Federal Servicemembers Civil Relief Act (50 U.S.C.
Sec 501) regarding the servicemember’s interest rate and the risk of foreclosure. Counseling for qualified individuals is
available at agencies such as Military OneSource and Armed Forces Legal Assistance. To obtain information on counseling
assistance, contact the OneSource Center, toll free, at (800)-342-9647 or visit their website:
http://legalassistance.law.af.mil.content/locator.php.
PROPERTY INSPECTIONS
If your loan account is in default, in accordance with the terms of your Mortgage/Deed of Trust, Fay Servicing, LLC may
inspect your property to determine that it is being maintained and occupied. As needed or required, Fay Servicing, LLC may
secure the property. Securing the property may result in locks being added or changed in an effort to protect the property
and may also include winterizing and/or mowing the property as necessary. Any fees for such an inspection and/or property
services may be charged to your account.
Disputed Debts: If you are disputing the debt, or a portion of the debt, please note that this statement is for information and
compliance purpose only. It is not an attempt to collect a debt against you.
